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  Counsel for Arch Acquisition I, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


                                                    :   Case No. 08-14631 (GMB)
  In re:                                            :   (Jointly Administered)
                                                    :
  Shapes/Arch Holdings L.L.C., et al.               :   Chapter 11
                                                    :
                            Debtors.                :
                                                    :




   CERTIFICATION OF DIANE E. VUOCOLO IN SUPPORT OF APPLICATION
    FOR THE ADMISSION OF JOSEPH P. DAVIS, ESQUIRE TO THIS COURT
        PRO HAC VICE AS COUNSEL TO ARCH ACQUISITION I, LLC
    PURSUANT TO DISTRICT COURT RULE 101.1(c) AND D.N.J. LBR 2090-1


                     I, Diane E. Vuocolo, Esquire, hereby certify as follows:

                     1.     I am a shareholder at the law firm of Greenberg Traurig, LLP with

  offices at Two Commerce Square, 2001 Market Street, Philadelphia, PA 19103. I am

  admitted to practice law in the State of New Jersey.

                     2.     I am a member in good standing since 1986 in both the federal and

  state courts of New Jersey.




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                     3.     The applicant, Joseph P. Davis, Esquire, is a shareholder in the law

  firm of Greenberg Traurig, LLP.

                     4.     Mr. Davis is admitted to practice law in the Commonwealth of

  Massachusetts and is in good standing to practice law in the Commonwealth of

  Massachusetts.

                     5.     I know Mr. Davis to be of good character.

                     6.     Mr. Davis has extensive experience in business and bankruptcy-

  related litigation and has particular expertise in this matter and has been requested by

  Arch Acquisition I, LLC to represent it as lead bankruptcy trial counsel.

                     7.     This Certification is submitted in support of an application to admit

  Joseph P. Davis, Esquire pro hac vice in this matter.

                     I certify that the foregoing statements made by me are true. I am aware

  that if any of the foregoing statements made by me are willfully false, I am subject to

  punishment.

  Dated: April 22, 2008
                                                   GREENBERG TRAURIG, LLP
                                                   Counsel for Arch Acquisition I, LLC


                                                   By: /s/ Diane E. Vuocolo
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